              Case 17-15021-pmm                        Doc          Filed 09/26/24 Entered 09/26/24 10:07:20                                Desc Main
   Fill in this information to identify the case:                   Document      Page 1 of 3
Debtor 1                 Torre L. Adams
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Eastern District of Pennsylvania
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             1715021
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                     12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             4­1
                                                                                                   Court claim no. (if known): _______________________
 Wells Fargo Bank, N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           11/01/2024
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             704.04
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      7 ____
                                                                    ____ 4 ____
                                                                            5 ____
                                                                                2

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

            
            ✔ No
             Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                Current escrow payment: $ _________________                                                 New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔ No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                     New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
               No
              ✔ Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
              
                  (Court approval may be required before the payment change can take effect.)
               Reason for change:
               Payment change resulting from a decrease in premium for Mortgage Insurance.



                                                   706.50
                      Current mortgage payment: $ _________________                                                        704.04
                                                                                                   New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
                Torre L. Adams                                                                        1715021
      Case
      Debtor 1 17-15021-pmm               Doc Filed       09/26/24 Entered 09/26/24
                ________________________________________________________
                First Name     Middle Name       Last Name
                                                                              Case number (if 10:07:20          Desc Main
                                                                                              known) ______________________

                                                Document           Page 2 of 3
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

     I am the creditor.
    ✔
     I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Mavis B Evans
      ______________________________________________________________
      Signature
                                                                                      09/26/2024
                                                                                Date _______________




 Print:______________________________________________________________
        Evans, Mavis B                                                           VP of Loan Documentation
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                  Street

            P.O. Box 1629
            _____________________________________________________________
            Address 2

             Minneapolis                             MN      55440-9790
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeofPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
          Case 17-15021-pmm              Doc      Filed 09/26/24 Entered 09/26/24 10:07:20                      Desc Main
                                                  Document
                      UNITED STATES BANKRUPTCY COURT            Page 3 of 3

                                                   Eastern District of Pennsylvania


                                                    Chapter 13 No. 1715021
                                                    Judge: Patricia M. Mayer

In re:
Torre L. Adams
                                           Debtor(s).

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before September 27, 2024 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                             By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     Torre L. Adams
                                     7941 Pickering Street

                                     Philadelphia PA 19150



                                    By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     N/A




Debtor’s Attorney:                   By Court's CM/ECF system registered email address
                                     MICHAEL A. CIBIK
                                     CIBIK Cibik Law, P.C.
                                     1500 Walnut Street Suite 900

                                     Philadelphia PA 19102


                                     By Court's CM/ECF system registered email address
                                     N/A




Trustee:                             By Court's CM/ECF system registered email address
                                     KENNETH E. WEST
                                     Office of the Chapter 13 Standing Trustee
                                     1234 Market Street - Suite 1813

                                     Philadelphia PA 19107

                                                             _______________________________________________
                                                             /s/Mavis B Evans
                                                             VP of Loan Documentation
                                                             Wells Fargo Bank, N.A.
